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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

ACKERMAN MCQUEEN, INC.,                                §
MERCURY GROUP, INC., HENRY                             §
MARTIN, WILLIAM WINKLER,                               §
MELANIE MONTGOMERY, AND JESSE                          §
GREENBERG,                                             §
    Movants,                                           §
                                                       §
                                                       §
v.                                                     §    Case No. 20-MC-001-HE
                                                       §
NATIONAL RIFLE ASSOCIATION OF                          §
AMERICA and WAYNE LAPIERRE,                            §
     Respondents.

     MOTION TO QUASH THIRD PARTY SUBPOENA ON INTEGRIS HEALTH, INC.

        Ackerman McQueen, Inc. (“AMc”), Mercury Group, Inc., Henry Martin, William Winkler,

Melanie Montgomery, and Jesse Greenberg (collectively, “Movants”) file this Motion to Quash

Third-Party Subpoena on INTEGRIS Health, Inc. (the “Motion” and “Integris”), attached as

Exhibit 1 hereto, and respectfully show as follows:

                                              I.    SUMMARY

        Movants previously filed a motion to quash the National Rifle Association’s

(“Respondent” or “NRA”) eight third-party subpoenas (including Integris) on February 7, 2020,

in the present Court as the place where compliance was required. 1 Movants sought transfer of the

Motion to the Northern District of Texas where the underlying matter is pending. Respondents

agreed with the transfer. This Court transferred that motion on February 25, 2020. 2

        Since then, Respondents served an “amended” subpoena on one of the same entities –

Integris -- which still fails to cure the flaws described in the previous motion. Said amended


1
  Ackerman McQueen, Inc., et al. v. NRA, et al., Miscellaneous Case No. MC-20-1-HE (W.D. Okla.); FED. R. CIV. P.
45(d)(3)(A).
2
  See ECF 07, Ackerman McQueen, Inc., et al. v. NRA, et al., Miscellaneous Case No. MC-20-1-HE (W.D. Okla.).


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subpoena must be quashed for the same reasons previously set forth: It is overbroad and harassing,

and it seeks information wholly irrelevant to the claims and defenses in the lawsuit. Movants

request the present Court to supplement its transfer to the Northern District of Texas by including

the present motion to quash, so that all pending discovery disputes may be disposed of collectively

and efficiently.

                                          II.    BACKGROUND

A.      Overview of Claims

        1.       The NRA’s current First Amended Complaint asserts causes of action for fraud and

breach of contract, which it argues are relevant to the Integris subpoena. 3

        2.       In response, AMc asserted a counterclaim and third-party claims, including libel

per se (the NRA falsely accuses AMc of extortion) and fraud (relating to NRATV and

compensation of talent hired to promote the NRA). 4

B.      The Integris Subpoena

        3.       The NRA served its amended Integris subpoena on February 20, 2020, requiring a

response on March 4, 2020, at 9:00 a.m. Notably, none of the parties’ claims or counterclaims

directly reference or relate to Integris. In fact, the connection between Integris and Respondent’s

Amended Complaint is feeble at best. The only possible reference to Integris, or any “Digital

Media” services provided to it by AMc, occurs in the fifth unnumbered paragraph of Respondent’s

Preliminary Statement, in which the NRA makes an inventive but factually unsupported allegation

about AMc’s business relationships: “Many of these campaigns [referring to AMc’s other clients

besides the NRA], which cost clients tens of millions of dollars, were shut down because of their



3
  See ECF 18, National Rifle Association of America v. Ackerman McQueen, Inc., et al., Case No: 3:19-cv-02074-G
(N.D. Tex.) (the “Dallas Action”).
4
  Id. at ECF 31.


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ineffectiveness, costliness, and Defendant’s reluctance to provide specific performance data in

accordance with its obligations.” See Dallas Action, ECF 18 at 4. Presumably, this allegation

was made in support of the NRA’s claim for fraud in relation to AMc’s billing practices and its

development and production of the NRA’s own “digital media” platform, NRATV.

        4.       Having no factual support for this damaging—and very public—allegation, the

NRA is intruding upon the business operations of AMc’s current and former clients. The NRA

seeks information from Integris relating to the AMc’s billing practices and provision of digital

media services, allegedly limiting responsive documents to 2015. However, even if Integris were

to comply with these invasive requests, any resulting document production would not yield

relevant documents to support the NRA’s allegations.

                               III.    ARGUMENTS & AUTHORITIES

        5.       To quash a third party subpoena, one must have a “personal right or privilege in the

subject matter of the subpoena or a sufficient interest in it.” 5 A personal right includes

communications between the challenging party and the subpoenaed party, for example, as well as

confidential business information. 6

        6.       Under Federal Rule of Civil Procedure 45, a Court must quash or modify a

subpoena that subjects a person to undue burden. FED. R. CIV. P. 45(d)(3)(A)(iv). The Court may

also quash or modify a subpoena that requires disclosure of a trade secret or other confidential

research, development, or commercial information. FED. R. CIV. P. 45(d)(3)(B).




5
  Bramell v. Aspen Exploration, Inc., No. 4:05-CV-384, 2008 U.S. Dist. LEXIS 72674, at *4 (E.D. Tex. Sep. 23,
2008).
6
  Orchestrate HR, Inc. v. Trombetta, 2014 U.S. Dist. LEXIS 24995, at *7 (N.D. Tex. Feb. 27, 2014) (finding standing
where subpoena sought communications between defendants and subpoenaed parties, and where subpoenas would
“require the non-parties to disclose trade secrets and confidential information”). That court also reasoned that
disclosure of sensitive business documents “is presumptively more harmful than disclosure to a noncompetitor.” Id.
at *12.


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       7.      Moreover, subpoenas to a non-party do not grant the requesting party any broader

right to information than allowed by the Federal Rules of Civil Procedure for discovery between

the parties. Rather, “considerations of both relevance and proportionality govern the subpoenas.”

Ward v. Liberty Ins. Corp., No. CIV-15-1390-D, 2018 U.S. Dist. LEXIS 26710, at *3 (W.D. Okla.

Feb. 20, 2018) (quashing the subpoena as unduly burdensome when it required the subpoenaed

party to “turn over apparently every document related to its policies and procedures … regardless

of the documents’ relevance to Plaintiff’s claims in this suit”). Accordingly, a subpoena must be

relevant to a party’s claim or defense and be proportional to the needs of the case. See FED. R.

CIV. P. 26(1). Thus, under Oklahoma federal law, a lawyer has a “duty to take reasonable steps to

avoid imposing undue burden or expense upon the party subject to the subpoena.” Huntair, Inc.

v. ClimateCraft, Inc., 254 F.R.D. 677, 679 (N.D. Okla. 2008).

       8.      Rule 45 requires the Court to quash or modify a subpoena that (i) fails to allow a

reasonable time to comply; (iii) requires disclosure of privileged or other protected matter, if no

exception or waiver applies; or (iv) subjects a person to undue burden. FED. R. CIV. P. 45(d)(3)(A).

The Court may also quash or modify a subpoena that requires disclosure of a trade secret or other

confidential research, development, or commercial information. FED. R. CIV. P. 45(d)(3)(B).

       9.      Further, “good faith in issuing a subpoena is not sufficient to avoid sanctions under

Rule 45(c)(1) if a party has issued the subpoena in violation of the duty imposed by that rule,” i.e.,

by imposing an undue burden on the third party. Huntair, 254 F.R.D. at 679.

A.     AMc has standing to quash the Integris subpoena.

       10.     AMc has standing to quash the Integris subpoena because it has a personal right to

information requested therein. The subpoena at issue facially demonstrates that personal right

when it requests documents that AMc created—not just about AMc’s services to Integris, but how




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AMc calculated its fair market value billing and “non-public” information like direct

communications between AMc and Integris, for instance.               Even the NRA argues that the

documents will uncover AMc’s alleged knowledge and prior business practices—i.e., information

it personally created or possessed (has a personal right in). And because the NRA is requesting

documents AMc created or received, “it should not be necessary for Plaintiff to obtain copies of

the documents from the non-parties,” even if it were entitled to them. 7

B.         The subpoena is overbroad and seeks irrelevant, highly confidential information.

           11.       The amended subpoena to Integris should be quashed for numerous independently

sufficient reasons.

           12.       First, although the NRA amended this one subpoena purporting to limit the requests

to 2015, that alleged limitation is disingenuous and useless because the requests are still overbroad,

they still seek irrelevant information, and they also intrude upon AMc’s highly confidential

information in circumvention of another court’s protective order. To illustrate:

    No. Substance of Request                Overbreadth
    1   Documents and                       Documents that “relate to” the services AMc provided
        communications that relate          includes all documents that in any way involve, concern,
        to the scope of work and/or         mention, refer, relate to the work AMc performed,
        services provided to You by         including all documents from inception to cessation,
        AMc…                                which is grossly overbroad for any purpose in the
                                            litigation.
    2      Documents concerning the         Documents “concerning” the programming and content
           Digital Media programming        or platform includes all documents ever created for the
           and content or platform that     “Digital Media.”
           AMc provided to You…
    3      Documents concerning             Documents “concerning” these topics include all
           forecasts, predictions, or       documents that pre- and post-date such forecasts,
           estimates…                       predictions, or estimates, including the underlying work
                                            upon which those forecasts are based.
    4      Documents concerning the         Documents “concerning” the performance of the entire
           actual performance or            content and platform includes all documents underlying
           success of the Digital Media     the work upon which the performance/success are based.
           content and platform…
7
    Id. at *10-11.


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    6   Documents that relate to the       Documents that “relate to” the money spent necessarily
        amount of money spent by           includes all documents underlying the money spent, i.e.,
        You on the Digital Media           all the documents relating to the services performed—as
        content and platform.              opposed to documents that reflect the amount of money
                                           spent, i.e., invoices already requested in Request No. 7.

        13.     Despite having another bite at the apple, the NRA did not limit its requests in any

meaningful way. Requesting “all” documents (regardless of phrasing) from the current date back

to 2015 is no better than requesting “all” documents from the current date back to the beginning

of AMc’s business relationship with Integris. The fact remains that the requests are facially

overbroad, which is unduly burdensome.

        14.     Second, as the NRA represented to this Court in response to the previous motion to

quash, it requests these documents to demonstrate AMc’s alleged fraud relating to NRATV based

on other “failed” campaign that were “shut down.” 8 But the NRA never once explains why it

needs information from a current client. That Integris has been a client since 2002 means there

was no failed campaign and neither the relationship nor such campaign has been shut down.

        15.     Moreover, the Integris account concerns the healthcare industry, whereas the NRA

account was for the Second Amendment and gun-rights advocates. The two necessarily involve

vastly different audiences, purposes, and messages, such that the campaign styles, viewership

metrics, and goals would differ as well. Plus, the size and scope of the NRA and its platform,

NRATV, is so much broader and more complex that any comparison with Integris would not lead

to the discovery of any admissible evidence. The NRA has not demonstrated how Integris

information as a current client would translate to the NRA’s claims.

        16.     Third, the documents requested contain AMc’s highly confidential information,

including how AMc calculates its fair market value for services to Integris and how it develops


8
 See Ackerman McQueen, Inc., et al. v. NRA, et al., Miscellaneous Case No. MC-20-1-HE (W.D. Okla.) ECF 6 at 6-
7, 17.


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campaigns for Integris. In the related Virginia cases, the NRA proposed a two-tier protective order

that included a highly confidential designation for AMc’s competitive information. 9 The Virginia

court prohibited the NRA’s lead counsel from accessing, reviewing, or using information

designated highly confidential. But in the Dallas Action (underlying this subpoena), the NRA

refuses to agree to a similar two-tier order and instead requested any Texas order contain only a

confidentiality designation. What is more, the NRA also requested that the Texas court demote

highly confidential information from Virginia to confidential information in Texas—meaning that

its lead counsel could circumvent in Texas what the Virginia court put in place. This subpoena (in

addition to the many others) is served for the same end result.

           17.     By issuing a subpoena to a third party, the NRA has the opportunity to obtain the

very highly confidential information AMc seeks to protect directly from the third party without

giving AMc the opportunity to make necessary designations. AMc’s only opportunity to designate

would be after the NRA already has an opportunity to review and use the information. Any

potential claw-back remedy would require reliance on the NRA and its counsel complying

therewith. But the fact the NRA opposes the two-tier program in Texas and seeks to unwind that

same scheme through the Texas protective order shows the risk with such reliance. That AMc just

learned through the NRA’s responses to the prior motions to quash that third parties have produced

documents proves this risk (and circumvention) to be real and imminent.

C.         The subpoenas subject the recipients to undue burden.

           18.     “Whether a burdensome subpoena is reasonable must be determined according to

the facts of the case, such as the party’s need for the documents and the nature and importance of

the litigation.” The relevance of a subpoena seeking discovery is measured by the standard



9
    See Dallas Action ECF 51 at 15.


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articulated in Rule 26(b)(1), which limits the scope of discovery to “any nonprivileged matter that

is relevant to any party’s claim or defense and proportional to the needs of the case, considering

the importance of the issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the discovery in resolving

the issues, and whether the burden or expense of the proposed discovery outweighs its likely

benefit.” FED. R. CIV. P. 26(b)(1). The subpoena must, therefore, be limited to documents that are

relevant to any party’s claim or defense and cannot be used to “develop new claims or defenses.”

Kizer v. Starr Indem. & Liab. Co., 2019 U.S. Dist. LEXIS 76320, at *6 (W.D. Okla. May 6, 2019).

       19.     In addition to limiting discovery to relevant information, Rule 26 specifies that the

discovery must be proportional to the needs of the case. FED. R. CIV. P. 26(b)(1). As set forth

above, the documents requested in this subpoena have no relevance to the NRA’s claims for fraud.

Further, seeking “all” information—whether by express request or in real effect—from Integris is

simply not proportional to the needs of the case and will impose unnecessary and unfair financial

burdens upon it. That same burden will be cast upon AMc in its attempt to scramble to review,

designate, and claw-back highly confidential documents, including the inevitable discovery fight

to ensue. This subpoena is, therefore, impermissible and necessarily unduly burdensome.

       20.     Additionally, the NRA’s lead lawyer is not simply a disinterested advocate for the

NRA in this matter. He is the son-in-law of the late Angus McQueen, AMc’s former owner and

CEO, and the brother-in-law of AMc’s current CEO, Revan McQueen. His animus-infused history

with the McQueen family is well-known and itself insinuates his true reason for representing the

NRA against his own family. Through the issuance of the subpoena, the NRA seeks unrestricted

access to decades of information about AMc’s confidential business practices, including budgets,

billing information, staffing, operations, and client communications, which would circumvent a




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protective order walling-off that lead lawyer from AMc’s highly confidential information in the

Virginia cases. The dubious motives behind this overbroad subpoena create the very undue burden

the law prohibits.



D.       Exceptional circumstances warrant supplementing the transfer of this matter to the
         Northern District of Texas with the present Motion to Quash.

         21.    According to Federal Rule of Civil Procedure 45(f), the compliance court can

transfer the Motion to the issuing court based on exceptional circumstances. And in the present

case, the compliance court has done exactly that by recently transferring Movants’ original motion

to quash to the Northern District of Texas. But, in the interim, an “amended” subpoena duces

tecum was issued to one of the same original subpoena recipients, necessitating the present Motion

to Quash. Movants submit that it would be a waste of resources, not to mention redundant, for

Movants to originate yet another “miscellaneous” action in order to facilitate a motion to quash

when the offending subpoena is not directed toward a new party, but rather is directed toward one

of the recipients identified in Movants’ original Motion to Quash. Movants submit that the most

expeditious procedure to address the concerns set forth in the present motion is to simply

supplement the order of transfer to the Northern District of Texas to include the present motion to

quash.

                                     IV.    CONCLUSION

         For the foregoing reasons, Movants respectfully request this Court grant their Motion,

quash the Integris subpoena, or at the very least supplement its transfer order to the Northern

District of Texas to include the present Motion to Quash, along with any other relief to which

Movants are entitled.




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Dated: March 3, 2020.

                                           Respectfully submitted,



                                           /s/ R. Thompson Cooper
                                           R. Thompson Cooper
                                           OBA No. 15746
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                                           ATTORNEYS FOR MOVANTS ACKERMAN
                                           MCQUEEN, INC., MERCURY GROUP, INC.,
                                           HENRY MARTIN, JESSE GREENBERG,
                                           WILLIAM WINKLER, AND MELANIE
                                           MONTGOMERY



                           CERTIFICATE OF CONFERENCE

       On February 7, 2019, counsel for AMc conferred with counsel for the NRA regarding the
Motion. Counsel for the NRA was opposed to the relief sought and was not willing to withdraw
the subpoenas.

                                           /s/ R. Thompson Cooper
                                           R. Thompson Cooper




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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 3, 2020, the foregoing document was filed with the clerk of
court for the U.S. District Court, Western District of Oklahoma, and that notice should therefore
be automatically generated to all counsel of record herein.


                                             /s/ R. Thompson Cooper
                                             R. Thompson Cooper




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                                                                  Exhibit 1
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF         §
   AMERICA,                              §
                                         §
        Plaintiff and Counter-Defendant, §
                                         §
   and                                   §
                                         §
       WAYNE LAPIERRE,                   §
                                         §
       Third-Party Defendant,            §
                                         § Civil Action No. 3:19-cv-02074-G
   v.                                    §
                                         §
   ACKERMAN MCQUEEN, INC.,               §
                                         §
       Defendant and Counter-Plaintiff,  §
                                         §
   and                                   §
                                         §
   MERCURY GROUP, INC., HENRY            §
   MARTIN, WILLIAM WINKLER,              §
   MELANIE MONTGOMERY, AND JESSE §
   GREENBERG,                            §
                                         §
        Defendants.                      §


   AMENDED NOTICE OF SUBPOENA FOR PRODUCTION OF DOCUMENTS TO
                        INTEGRIS HEALTH


       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure, Rule 45(A)(4),

Plaintiff, the National Rifle Association of America, by and through its counsel of record, hereby

gives notice of an Amended Subpoena to Integris Health Inc., by service to its registered corporate

agent Christopher M. Hammes, 3366 NW Expressway, Suite 800, Oklahoma City, OK 73112, to

produce any and all responsive documents or tangible things as requested therein. Pursuant to Fed.

R. Civ. P. 34(b)(1)(C), documents shall be produced to Plaintiff in Tagged Image File Format

(“TIFF”) with (a) an extracted text file containing searchable text for each electronic document, (b)

                                                 1
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an Optical Character Recognition text file for each imaged paper document, (c) Metadata Data

load file (DAT) and (d) Image load files (OPT). Non-convertible files shall be produced in native

format. A true and correct copy of the Subpoena is attached hereto



Dated: February 19, 2020                            Respectfully submitted,

                                                    BREWER, ATTORNEYS &
                                                    COUNSELORS


                                               By: /s/ Jason C. McKenney
                                                    Jason C. McKenney
                                                    State Bar No. 24070245
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                                                    Michael J. Collins
                                                    State Bar No. 00785493
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                                                    Dallas, Texas 75201
                                                    Telephone: (214) 653-4000
                                                    Facsimile: (214) 653-1015

                                                    ATTORNEYS FOR PLAINTIFF THE
                                                    NATIONAL RIFLE ASSOCIATION OF
                                                    AMERICA


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon

counsel of record in the above cause via electronic and first-class mail in accordance with the

Federal Rules of Civil Procedure and the Local Rules on February 19, 2020.



                                            /s/ Jason C. McKenney
                                            Jason C. McKenney (State Bar No. 24070245)



4846-4139-3332.1
2277-09
                                               2
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of Texas
                                                       __________              __________
             NATIONAL RIFLE ASSOCIATION                                       )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:19-cv-02074-G
             ACKERMAN MCQUEEN, ET. AL.                                        )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                 Integris Health Inc., by service to its registered corporate agent
                        Christopher M. Hammes at 3366 NW Expressway, Suite 800, Oklahoma City, OK 73112
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment A.


 Place: Renaissance Waterford Hotel,                                                    Date and Time:
           6300 Waterford Boulevard,                                                                         03/04/2020 9:00 am
           Oklahoma City, OK 73118

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         02/19/2020

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                /s/ Jason C. McKenney
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
The National Rifle Association of America                               , who issues or requests this subpoena, are:
Jason C. McKenney 1717 Main Street, Suite 5900, Dallas, TX 75201; JCM@BrewerAttorneys.com; (214) 653-4837

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-cv-02074-G

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    NATIONAL RIFLE ASSOCIATION OF         §
    AMERICA,                              §
                                          §
         Plaintiff and Counter-Defendant, §
                                          §
    and                                   §
                                          §
        WAYNE LAPIERRE,                   §
                                          §
        Third-Party Defendant,            §
                                          § Civil Action No. 3:19-cv-02074-G
    v.                                    §
                                          §
    ACKERMAN MCQUEEN, INC.,               §
                                          §
        Defendant and Counter-Plaintiff,  §
                                          §
    and                                   §
                                          §
    MERCURY GROUP, INC., HENRY            §
    MARTIN, WILLIAM WINKLER,              §
    MELANIE MONTGOMERY, AND JESSE §
    GREENBERG,                            §
                                          §
         Defendants.                      §


                              ATTACHMENT A
            TO AMENDED SUBPOENA FOR PRODUCTION OF DOCUMENTS
                         TO INTEGRIS HEALTH, INC.

                                                I.
                                           DEFINITIONS

       1.       The term “AMc” shall mean Ackerman McQueen, Inc. and its subsidiary Mercury
Group, Inc., or any other subsidiary, and all present and former agents, employees, representatives,
advisors, officers, attorneys, consultants, investigators, individuals, and entities acting on behalf of,
or pursuant to the direction of, Ackerman McQueen, Inc or Mercury Group, Inc.

        2.      The terms “communication,” “communicate,” and “communicated” shall mean any
oral, written, or recorded utterance, notation, or statement of any nature whatsoever, by and to
whomsoever made, including, but not limited to, correspondence, e-mails, text messages,
conversations, facsimiles, letters, telegrams, cables, telexes, dialogues, discussions, negotiations,
interviews, consultations, telephone calls, agreements, and other understandings, among two or more
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persons. The term “communication” includes written summaries of any of the foregoing
communications.

        3.      The terms “document” and “record” shall mean all writings of any sort and each
term should be construed in its broadest sense to include, but not be limited to, all original and non-
identical copies, whether by reason of marginalia or other notes or alterations, and all preliminary or
subsequent drafts of the following items, whether printed or recorded or reproduced by any other
mechanical or electronic process, or written or produced by hand: agreements, communications,
correspondence, letters, telegrams, cables, telexes, memoranda, records, books, journals, summaries
of records or papers, minutes, calendars, affidavits, recordings (video or audio), electronic mail, text
messages, memoranda of telephone calls, conversations, telephone calls, meetings, contracts, notes,
marginal comments appearing on or affixed to any document, day timers, date books, messages, letters
of credit, invoices, statements of account, financial statements, receipts, promissory notes, security
agreements, deeds of trust, instruments purporting to grant or evidencing any security interest or lien,
loan agreements, projections, working papers, securities, ledgers, cancelled checks and bank drafts
(front and back), check stub receipts, and other data, documents, papers, or writings of whatever
description including, but not limited to, any data or information which is electronically recorded or
shared, contained in any computer, mobile device, or other information retrievable device or that
otherwise can be obtained or translated through detection devices or other means into any reasonably
useable or recordable format.

        4.      The term “related to” shall mean concerning, relating to, reflecting, referring to,
having a relationship to, pertaining to, identifying, containing, pertinent to, setting forth, showing,
disclosing, describing, explaining, summarizing, evidencing, or constituting, directly or indirectly, in
whole or in part, or to be otherwise factually, legally or logically connected to the subject matter of
the particular Request.

       5.      The term “Person” shall mean refer to either an individual or an entity.

        6.      The term “You,” or “Your,” shall mean the person or entity summoned in the attached
subpoena, including all present and former agents, employees, representatives, advisors, officers,
attorneys, consultants, investigators, individuals, subsidiaries, parent-entities, and entities acting on
behalf of, or pursuant to, the direction of such person or entity.

        7.      The term “information” or “data” shall mean all records or writings of any sort and
shall be construed in its broadest sense to include, but not be limited to, all original and non-identical
copies, whether by reason of marginalia or other notes or alterations, and all preliminary or
subsequent drafts of the following items, whether printed or recorded or reproduced by any other
mechanical or electronic process, or written or produced by hand: agreements, communications,
correspondence, letters, telegrams, cables, telexes, memoranda, records, books, journals, summaries
of records or papers, minutes, calendars, affidavits, recordings (video or audio), electronic mail, text
messages, memoranda of telephone calls, conversations, telephone calls, meetings, contracts, notes,
marginal comments appearing on or affixed to any document, day timers, date books, messages,
letters of credit, invoices, statements of account, financial statements, receipts, promissory notes,
security agreements, deeds of trust, instruments purporting to grant or evidencing any security
interest or lien, loan agreements, projections, working papers, securities, ledgers, cancelled checks
and bank drafts (front and back), check stub receipts, and other data, documents, papers, or writings
of whatever description including, but not limited to, any code, data or information which is
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electronically recorded or shared, contained in any computer, mobile device, or other information
retrievable device or that otherwise can be obtained or translated through detection devices or other
means into any reasonably useable or recordable format.

        8.      The term “Digital Media” shall mean all digitized content including but not limited
to digital images, software, digital video, web pages, social media, digital audio, news articles, blog
articles, RSS feeds, video content, and any other types of digital content, produced by individuals or
an organization, where a certain brand, products, or services are shown.

        9.     “Viewership Analytics” shall mean any analysis, summary, or presentation of
audience membership or viewership, including but not limited to, statistics, demographics, or any
other type of data related to the audience and viewership of specific TV content, digital content, or
any other type of media programming.

        10.     All Requests seek documents dated January 1, 2015 and later, unless otherwise
indicated in a particular Request.

        11.     To the extent that you harbor concerns about any of the requests propounded herein,
you are directed to contact counsel for Plaintiff, the National Rifle Association of America, as soon
as practicable to enable Plaintiff to timely resolve or otherwise address such concerns.

                                           II.
                                REQUESTS FOR PRODUCTION

         1.     Documents and communications that relate to the scope of work and/or services
provided to You by AMc, including, but not limited to, identifying all AMc employees, officers,
directors, or agents providing such services.
        2.      Documents and communications concerning the Digital Media programming,
content, and/or platform that AMc provided to You, including but not limited to, any Viewership
Analytics provided by AMc and documents and communications concerning how AMc created or
otherwise generated the Viewership Analytics.

       3.     Documents and communications concerning forecasts, predictions, or estimates
provided to You by AMc concerning the Digital Media content or platform.

       4.     Documents and communications concerning the actual performance or success of
the Digital Media content or platform.

        5.    Budgets for services provided or to be provided by AMc to You concerning the
Digital Media content or platform.

       6.     Documents and communications that relate to the amount of money spent by You on
any Digital Media content or platform developed and managed by AMc.

        7.    Bills, invoices, and other requests for payment You received from AMc concerning
Digital Media content or platform.

        8.     Documents and communications reflecting any concerns about or requests to AMc
for information on Your Digital Media content or platform, including but not limited to, documents
concerning AMc’s response.
                                                3
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